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16                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
17                                SAN FRANCISCO DIVISION
18
     Sarah Silverman, an individual;                                         Case No.
19   Christopher Golden, an individual;
     Richard Kadrey, an individual;                                          Complaint
20
                                 Individual and Representative Plaintiffs,   Class Action
21

22           v.                                                              Demand for
                                                                             Jury Trial
23   OpenAI, Inc., a Delaware nonprofit corporation; OpenAI, L.P., a
     Delaware limited partnership; OpenAI OpCo, L.L.C., a Delaware
24   limited liability corporation; OpenAI GP, L.L.C., a Delaware
25   limited liability company; OpenAI Startup Fund GP I, L.L.C.,
     a Delaware limited liability company; OpenAI Startup Fund I,
26   L.P., a Delaware limited partnership; and OpenAI Startup Fund
     Management, LLC, a Delaware limited liability company,
27

28                                                           Defendants.



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 1           Plaintiffs Sarah Silverman, Christopher Golden, and Richard Kadrey (“Plaintiffs”), on behalf of

 2   themselves and all others similarly situated, bring this Class Action Complaint (the “Complaint”)

 3   against Defendants OpenAI, Inc., OpenAI, L.P., OpenAI OpCo, L.L.C., OpenAI GP, L.L.C., OpenAI

 4   Startup Fund I, L.P., OpenAI Startup Fund GP I, L.L.C. and OpenAI Startup Fund Management, LLC

 5   for direct copyright infringement, vicarious copyright infringement, violations of section 1202(b) of the

 6   Digital Millennium Copyright Act, unjust enrichment, violations of the California and common law

 7   unfair competition laws, and negligence. Plaintiffs seek injunctive relief an to recover damages as a

 8   result and consequence of Defendants’ unlawful conduct.

 9                                              I.      OVERVIEW

10           1.       ChatGPT is a software product created, maintained, and sold by OpenAI.

11           2.       ChatGPT is powered by two AI software programs called GPT-3.5 and GPT-4, also

12   known as large language models. Rather than being programmed in the traditional way, a large language

13   model is “trained” by copying massive amounts of text and extracting expressive information from it.

14   This body of text is called the training dataset. Once a large language model has copied and ingested the

15   text in its training dataset, it is able to emit convincingly naturalistic text outputs in response to user

16   prompts.

17           3.       A large language model’s output is therefore entirely and uniquely reliant on the

18   material in its training dataset. Every time it assembles a text output, the model relies on the

19   information it extracted from its training dataset.

20           4.       Plaintiffs and Class members are authors of books. Plaintiffs and Class members have

21   registered copyrights in the books they published. Plaintiffs and Class members did not consent to the

22   use of their copyrighted books as training material for ChatGPT. Nonetheless, their copyrighted

23   materials were ingested and used to train ChatGPT.

24           5.       Indeed, when ChatGPT is prompted, ChatGPT generates summaries of Plaintiffs’

25   copyrighted works—something only possible if ChatGPT was trained on Plaintiffs’ copyrighted works.

26           6.       Defendants, by and through the use of ChatGPT, benefit commercial and profit richly

27   from the use of Plaintiffs’ and Class members’ copyrighted materials.

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 1                                  II.    JURISDICTION AND VENUE

 2           7.       This Court has subject matter jurisdiction under 28 U.S.C. § 1331 because this case

 3   arises under the Copyright Act (17 U.S.C. § 501) and the Digital Millennium Copyright Act (17 U.S.C.

 4   § 1202).

 5           8.       Jurisdiction and venue is proper in this judicial district under 28 U.S.C. § 1391(c)(2)

 6   because defendant OpenAI, Inc. is headquartered in this district, and thus a substantial part of the

 7   events giving rise to the claim occurred in this district; and because a substantial part of the events

 8   giving rise to Plaintiffs’ claims occurred in this District, and a substantial portion of the affected

 9   interstate trade and commerce was carried out in this District. Each Defendant has transacted business,

10   maintained substantial contacts, and/or committed overt acts in furtherance of the illegal scheme and

11   conspiracy throughout the United States, including in this District. Defendants’ conduct has had the

12   intended and foreseeable effect of causing injury to persons residing in, located in, or doing business

13   throughout the United States, including in this District.

14           9.       Under Civil Local Rule 3.2(c) and (e), assignment of this case to the San Francisco

15   Division is proper because defendant OpenAI, Inc. is headquartered in San Francisco, a substantial

16   amount part of the events giving rise to Plaintiffs’ claims and the interstate trade and commerce

17   involved and affected by Defendants’ conduct giving rise to the claims herein occurred in this Division.

18                                               III.    PARTIES

19   A.      Plaintiffs

20           10.      Plaintiff Sarah Silverman is a writer and performer who lives in California. Plaintiff

21   Silverman owns a registered copyright in one book, called The Bedwetter. This book contains copyright-

22   management information customarily included in published books, including the name of the author

23   and the year of publication.

24           11.      Plaintiff Christopher Golden is a writer who lives in Massachusetts. Mr. Golden owns

25   registered copyrights in several books, including Ararat. This book contains the copyright-management

26   information customarily included in published books, including the name of the author and the year of

27   publication.

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 1          12.     Plaintiff Richard Kadrey is a writer who lives in Pennsylvania. Plaintiff Kadrey owns

 2   registered copyrights in several books, including Sandman Slim. This book contains the copyright-

 3   management information customarily included in published books, including the name of the author

 4   and the year of publication.

 5          13.     A nonexhaustive list of registered copyrights owned by Plaintiffs is included as

 6   Exhibit A.

 7   B.     Defendants

 8          14.     Defendant OpenAI, Inc. is a Delaware nonprofit corporation with its principal place of

 9   business located at 3180 18th St, San Francisco, CA 94110.

10          15.     Defendant OpenAI, L.P. is a Delaware limited partnership with its principal place of

11   business located at 3180 18th St, San Francisco, CA 94110. OpenAI, L.P. is a wholly owned subsidiary

12   of OpenAI Inc. that is operated for profit. OpenAI, Inc. controls OpenAI, L.P. directly and through the

13   other OpenAI entities.

14          16.     Defendant OpenAI OpCo, L.L.C. is a Delaware limited liability company with its

15   principal place of business located at 3180 18th Street, San Francisco, CA 94110. OpenAI OpCo,

16   L.L.C. is a wholly owned subsidiary of OpenAI, Inc. that is operated for profit. OpenAI, Inc. controls

17   OpenAI OpCo, L.L.C. directly and through the other OpenAI entities.

18          17.     Defendant OpenAI GP, L.L.C. (“OpenAI GP”) is a Delaware limited liability company

19   with its principal place of business located at 3180 18th Street, San Francisco, CA 94110. OpenAI GP is

20   the general partner of OpenAI, L.P. OpenAI GP manages and operates the day-to-day business and

21   affairs of OpenAI, L.P. OpenAI GP was aware of the unlawful conduct alleged herein and exercised

22   control over OpenAI, L.P. throughout the Class Period. OpenAI, Inc. directly controls OpenAI GP.

23          18.     Defendant OpenAI Startup Fund I, L.P. (“OpenAI Startup Fund I”) is a Delaware

24   limited partnership with its principal place of business located at 3180 18th Street, San Francisco, CA

25   94110. OpenAI Startup Fund I was instrumental in the foundation of OpenAI, L.P., including the

26   creation of its business strategy and providing initial funding. OpenAI Startup Fund I was aware of the

27   unlawful conduct alleged herein and exercised control over OpenAI, L.P. throughout the Class Period.

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 1           19.     Defendant OpenAI Startup Fund GP I, L.L.C. (“OpenAI Startup Fund GP I”) is a

 2   Delaware limited liability company with its principal place of business located at 3180 18th Street, San

 3   Francisco, CA 94110. OpenAI Startup Fund GP I is the general partner of OpenAI Startup Fund I.

 4   OpenAI Startup Fund GP I is a party to the unlawful conduct alleged herein. OpenAI Startup Fund GP

 5   I manages and operates the day-to-day business and affairs of OpenAI Startup Fund I.

 6           20.     Defendant OpenAI Startup Fund Management, LLC (“OpenAI Startup Fund

 7   Management”) is a Delaware limited liability company with its principal place of business located at

 8   3180 18th Street, San Francisco, CA 94110. OpenAI Startup Fund Management is a party to the

 9   unlawful conduct alleged herein. OpenAI Startup Fund Management was aware of the unlawful

10   conduct alleged herein and exercised control over OpenAI, L.P. throughout the Class Period.

11                            IV.     AGENTS AND CO-CONSPIRATORS

12           21.     The unlawful acts alleged against the Defendants in this class action complaint were

13   authorized, ordered, or performed by the Defendants’ respective officers, agents, employees,

14   representatives, or shareholders while actively engaged in the management, direction, or control of the

15   Defendants’ businesses or affairs. The Defendants’ agents operated under the explicit and apparent

16   authority of their principals. Each Defendant, and its subsidiaries, affiliates, and agents operated as a

17   single unified entity.

18           22.     Various persons and/or firms not named as Defendants may have participated as co-

19   conspirators in the violations alleged herein and may have performed acts and made statements in

20   furtherance thereof. Each acted as the principal, agent, or joint venture of, or for other Defendants with

21   respect to the acts, violations, and common course of conduct alleged herein.

22                                   V.      FACTUAL ALLEGATIONS

23           23.     OpenAI creates and sells artificial-intelligence software products. Artificial intelligence is

24   commonly abbreviated “AI.” AI software is designed to algorithmically simulate human reasoning or

25   inference, often using statistical methods.

26           24.     Certain AI products created and sold by OpenAI are known as large language models. A

27   large language model (or “LLM” for short) is AI software designed to parse and emit natural language.

28   Though a large language model is a software program, it is not created the way most software programs

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 1   are—that is, by human software engineers writing code. Rather, a large language model is “trained” by

 2   copying massive amounts of text from various sources and feeding these copies into the model. This

 3   corpus of input material is called the training dataset. During training, the large language model copies

 4   each piece of text in the training dataset and extracts expressive information from it. The large language

 5   model progressively adjusts its output to more closely resemble the sequences of words copied from

 6   the training dataset. Once the large language model has copied and ingested all this text, it is able to

 7   emit convincing simulations of natural written language as it appears in the training dataset.

 8           25.     Much of the material in OpenAI’s training datasets, however, comes from copyrighted

 9   works—including books written by Plaintiffs—that were copied by OpenAI without consent, without

10   credit, and without compensation.

11           26.     Authors, including Plaintiffs, publish books with certain copyright management

12   information. This information includes the book’s title, the ISBN number or copyright number, the

13   author’s name, the copyright holder’s name, and terms and conditions of use. Most commonly, this

14   information is found on the back of the book’s title page and is customarily included in all books,

15   regardless of genre.

16           27.     OpenAI has released a series of large language models, including GPT-1 (released June

17   2018), GPT-2 (February 2019), GPT-3 (May 2020), GPT-3.5 (March 2022), and most recently GPT-4

18   (March 2023). “GPT” is an abbreviation for “generative pre-trained transformer,” where pre-trained

19   refers to the use of textual material for training, generative refers to the model’s ability to emit text, and

20   transformer refers to the underlying training algorithm. Together, OpenAI’s large language models will

21   be referred to as the “OpenAI Language Models.”

22           28.     Many kinds of material have been used to train large language models. Books, however,

23   have always been a key ingredient in training datasets for large language models because books offer the

24   best examples of high-quality longform writing.

25           29.     For instance, in its June 2018 paper introducing GPT-1 (called “Improving Language

26   Understanding by Generative Pre-Training”), OpenAI revealed that it trained GPT-1 on BookCorpus,

27   a collection of “over 7,000 unique unpublished books from a variety of genres including Adventure,

28   Fantasy, and Romance.” OpenAI confirmed why a dataset of books was so valuable: “Crucially, it

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 1   contains long stretches of contiguous text, which allows the generative model to learn to condition on

 2   long-range information.” Hundreds of large language models have been trained on BookCorpus,

 3   including those made by OpenAI, Google, Amazon, and others.

 4          30.     BookCorpus, however, is a controversial dataset. It was assembled in 2015 by a team of

 5   AI researchers for the purpose of training language models. They copied the books from a website

 6   called Smashwords that hosts self-published novels, that are available to readers at no cost. Those

 7   novels, however, are largely under copyright. They were copied into the BookCorpus dataset without

 8   consent, credit, or compensation to the authors.

 9          31.     OpenAI also copied many books while training GPT-3. In the July 2020 paper

10   introducing GPT-3 (called “Language Models are Few-Shot Learners”), OpenAI disclosed that 15% of

11   the enormous GPT-3 training dataset came from “two internet-based books corpora” that OpenAI

12   simply called “Books1” and “Books2”.

13          32.     Tellingly, OpenAI has never revealed what books are part of the Books1 and Books2

14   datasets. Though there are some clues. First, OpenAI admitted these are “internet-based books

15   corpora.” Second, both Books1 and Books2 are apparently much larger than BookCorpus. Based on

16   numbers given in OpenAI’s paper about GPT-3, Books1 is apparently about nine times larger; Books2

17   is about 42 times larger. Since BookCorpus contained about 7,000 titles, this suggests Books1 would

18   contain about 63,000 titles; Books2 would contain about 294,000 titles.

19          33.     But there are only a handful of “internet-based books corpora” that would be able to

20   deliver this much material.

21          34.     As noted in Paragraph 32, supra, the OpenAI Books1 dataset can be estimated to contain

22   about 63,000 titles. Project Gutenberg is an online archive of e-books whose copyright has expired. In

23   September 2020, Project Gutenberg claimed to have “over 60,000” titles. Project Gutenberg has long

24   been popular for training AI systems due to the lack of copyright. In 2018, a team of AI researchers

25   created the “Standardized Project Gutenberg Corpus,” which contained “more than 50,000 books.”

26   On information and belief, the OpenAI Books1 dataset is based on either the Standardized Project

27   Gutenberg Corpus or Project Gutenberg itself, because of the roughly similar sizes of the two datasets.

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 1          35.     As noted in Paragraph 32, supra, the OpenAI Books2 dataset can be estimated to contain

 2   about 294,000 titles. The only “internet-based books corpora” that have ever offered that much

 3   material are notorious “shadow library” websites like Library Genesis (aka LibGen), Z-Library (aka B-

 4   ok), Sci-Hub, and Bibliotik. The books aggregated by these websites have also been available in bulk via

 5   torrent systems. These flagrantly illegal shadow libraries have long been of interest to the AI-training

 6   community: for instance, an AI training dataset published in December 2020 by EleutherAI called

 7   “Books3” includes a recreation of the Bibliotik collection and contains nearly 200,000 books. On

 8   information and belief, the OpenAI Books2 dataset includes books copied from these “shadow

 9   libraries,” because those are the most sources of trainable books most similar in nature and size to

10   OpenAI’s description of Books2.

11          36.     In March 2023, OpenAI’s paper introducing GPT-4 contained no information about its

12   dataset at all: OpenAI claimed that “[g]iven both the competitive landscape and the safety implications

13   of large-scale models like GPT-4, this report contains no further details about . . . dataset

14   construction.” Later in the paper, OpenAI concedes it did “filter[ ] our dataset . . . to specifically

15   reduce the quantity of inappropriate erotic text content.”

16   A.     Interrogating the OpenAI Language Models using ChatGPT

17          37.     ChatGPT is a language model created and sold by OpenAI. As its name suggests,

18   ChatGPT is designed to offer a conversational style of interaction with a user. OpenAI offers ChatGPT

19   through a web interface to individual users for $20 per month. Through the web interface, users can

20   choose to use two versions of ChatGPT: one based on the GPT-3.5 model, and one based on the newer

21   GPT-4 model.

22          38.     OpenAI also offers ChatGPT to software developers through an application-

23   programming interface (or “API”). The API allows developers to write programs that exchange data

24   with ChatGPT. Access to ChatGPT via the API is billed on the basis of usage.

25          39.     Regardless of how accessed—either through the web interface or through the API—

26   ChatGPT allows users to enter text prompts, which ChatGPT then attempts to respond to in a natural

27   way, i.e., ChatGPT can generate answers in a coherent and fluent way that closely mimics human

28   language. If a user prompts ChatGPT with a question, ChatGPT will answer. If a user prompts

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 1   ChatGPT with a command, ChatGPT will obey. If a user prompts ChatGPT to summarize a

 2   copyrighted book, it will do so.

 3          40.     ChatGPT’s output, like other LLMs, relies on the data upon which it is trained to

 4   generate new content. LLMs generate output based on patterns and connections drawn from the

 5   training data. For example, if an LLM is prompted to generate a writing in the style of a certain author,

 6   the LLM would generate content based on patterns and connections it learned from analysis of that

 7   author’s work within its training data.

 8          41.     On information and belief, the reason ChatGPT can accurately summarize a certain

 9   copyrighted book is because that book was copied by OpenAI and ingested by the underlying OpenAI

10   Language Model (either GPT-3.5 or GPT-4) as part of its training data.

11          42.     When ChatGPT was prompted to summarize books written by each of the Plaintiffs, it

12   generated very accurate summaries. These summaries are attached as Exhibit B. The summaries get

13   some details wrong. This is expected, since a large language model mixes together expressive material

14   derived from many sources. Still, the rest of the summaries are accurate, which means that ChatGPT

15   retains knowledge of particular works in the training dataset and is able to output similar textual

16   content. At no point did ChatGPT reproduce any of the copyright management information Plaintiffs

17   included with their published works.

18                                      VI.    CLASS ALLEGATIONS

19   A.     Class Definition

20          43.     Plaintiffs bring this action for damages and injunctive relief as a class action under

21   Federal Rules of Civil Procedure 23(a), 23(b)(2), and 23(b)(3), on behalf of the following Class:

22                  All persons or entities domiciled in the United States that own a
                    United States copyright in any work that was used as training data
23                  for the OpenAI Language Models during the Class Period.
24
            44.     This Class definition excludes:
25
                    a.      any of the Defendants named herein;
26
                    b.      any of the Defendants’ co-conspirators;
27
                    c.      any of Defendants’ parent companies, subsidiaries, and affiliates;
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 1                  d.      any of Defendants’ officers, directors, management, employees, subsidiaries,

 2                          affiliates, or agents;

 3                  e.      all governmental entities; and

 4                  f.      the judges and chambers staff in this case, as well as any members of their

 5                          immediate families.

 6   B.     Numerosity

 7          45.     Plaintiffs do not know the exact number of members in the Class. This information is in

 8   the exclusive control of Defendants. On information and belief, there are at least thousands of members

 9   in the Class geographically dispersed throughout the United States. Therefore, joinder of all members

10   of the Class in the prosecution of this action is impracticable.

11   C.     Typicality

12          46.     Plaintiffs’ claims are typical of the claims of other members of the Class because

13   Plaintiffs and all members of the Class were damaged by the same wrongful conduct of Defendants as

14   alleged herein, and the relief sought herein is common to all members of the Class.

15   D.     Adequacy

16          47.     Plaintiffs will fairly and adequately represent the interests of the members of the Class

17   because the Plaintiffs have experienced the same harms as the members of the Class and have no

18   conflicts with any other members of the Class. Furthermore, Plaintiffs have retained sophisticated and

19   competent counsel who are experienced in prosecuting federal and state class actions, as well as other

20   complex litigation.

21   E.     Commonality and Predominance

22          48.     Numerous questions of law or fact common to each Class arise from Defendants’

23   conduct:

24              a. whether Defendants violated the copyrights of Plaintiffs and the Class when they

25                 downloaded copies of Plaintiffs’ copyrighted books and used them to train ChatGPT;

26              b. whether ChatGPT itself is an infringing derivative work based on Plaintiffs’ copyrighted

27                 books;

28

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 1                 c. whether the text outputs of ChatGPT are infringing derivative works based on Plaintiffs’

 2                    copyrighted books;

 3                 d. whether Defendants violated the DMCA by removing copyright-management

 4                    information (CMI) from Plaintiffs’ copyrighted books.

 5                 e. Whether Defendants were unjustly enriched by the unlawful conduct alleged herein.

 6                 f. Whether Defendants’ conduct alleged herein constitutes Unfair Competition under

 7                    California Business and Professions Code section 17200 et seq.

 8                 g. Whether this Court should enjoin Defendants from engaging in the unlawful conduct

 9                    alleged herein. And what the scope of that injunction would be.

10                 h. Whether any affirmative defense excuses Defendants’ conduct.

11                 i. Whether any statutes of limitation limits Plaintiffs’ and the Class’s potential for recovery.

12           49.       These and other questions of law and fact are common to the Class predominate over

13   any questions affecting the members of the Class individually.

14   F.      Other Class Considerations

15           50.       Defendants have acted on grounds generally applicable to the Class. This class action is

16   superior to alternatives, if any, for the fair and efficient adjudication of this controversy. Prosecuting the

17   claims pleaded herein as a class action will eliminate the possibility of repetitive litigation. There will be

18   no material difficulty in the management of this action as a class action. Further, final injunctive relief is

19   appropriate with respect to the Class as a whole.

20           51.       The prosecution of separate actions by individual Class members would create the risk

21   of inconsistent or varying adjudications, establishing incompatible standards of conduct for

22   Defendants.

23                                        VII. CLAIMS FOR RELIEF
                                                       COUNT I
24                                     Direct Copyright Infringement
                                                    17 U.S.C. § 106
25                                 On Behalf of Plaintiffs and the Class
26           52.       Plaintiffs incorporate by reference the preceding factual allegations.

27           53.       As the owners of the registered copyrights in books used to train the OpenAI Language

28   Models, Plaintiffs hold the exclusive rights to those texts under 17 U.S.C. § 106.

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 1             54.   Plaintiffs never authorized OpenAI to make copies of their books, make derivative

 2   works, publicly display copies (or derivative works), or distribute copies (or derivative works). All those

 3   rights belong exclusively to Plaintiffs under copyright law.

 4             55.   On information and belief, to train the OpenAI Language Models, OpenAI relied on

 5   harvesting mass quantities of textual material from the public internet, including Plaintiffs’ books,

 6   which are available in digital formats.

 7             56.   OpenAI made copies of Plaintiffs’ books during the training process of the OpenAI

 8   Language Models without Plaintiffs’ permission. Specifically, OpenAI copied at least Plaintiff

 9   Silverman’s book The Bedwetter; Plaintiff Golden’s book Ararat; and Plaintiff Kadrey’s book Sandman

10   Slime. Together, these books are referred to as the Infringed Works.

11             57.   Because the OpenAI Language Models cannot function without the expressive

12   information extracted from Plaintiffs’ works (and others) and retained inside them, the OpenAI

13   Language Models are themselves infringing derivative works, made without Plaintiffs’ permission and

14   in violation of their exclusive rights under the Copyright Act.

15             58.   Plaintiffs have been injured by OpenAI’s acts of direct copyright infringement. Plaintiffs

16   are entitled to statutory damages, actual damages, restitution of profits, and other remedies provided

17   by law.

18                                                   COUNT 2
                                   Vicarious Copyright Infringement
19                                                17 U.S.C. § 106
                                 On Behalf of Plaintiffs and the Class
20             59.   Plaintiffs incorporate by reference the preceding factual allegations.
21             60.   Because the output of the OpenAI Language Models is based on expressive information
22   extracted from Plaintiffs’ works (and others), every output of the OpenAI Language Models is an
23   infringing derivative work, made without Plaintiffs’ permission and in violation of their exclusive rights
24   under the Copyright Act.
25             61.   OpenAI has the right and ability to control the output of the OpenAI Language Models.
26   OpenAI has benefited financially from the infringing output of the OpenAI Language Models.
27

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 1   Therefore, every output from the OpenAI Language Models constitutes an act of vicarious copyright

 2   infringement.

 3          62.       Plaintiffs have been injured by OpenAI’s acts of vicarious copyright infringement.

 4   Plaintiffs are entitled to statutory damages, actual damages, restitution of profits, and other remedies

 5   provided by law.

 6                                         COUNT 3
                            Digital Millennium Copyright Act—
 7                      Removal of Copyright Management Information
                                      17 U.S.C. § 1202(b)
 8                          On Behalf of Plaintiffs and the Class

 9          63.       Plaintiffs incorporate by reference the preceding factual allegations.

10          64.       Plaintiffs included one or more forms of copyright-management information (“CMI”)

11   in each of the Plaintiffs’ Infringed Works, including: copyright notice, title and other identifying

12   information, the name or other identifying information about the owners of each book, terms and

13   conditions of use, and identifying numbers or symbols referring to CMI.

14          65.       Without the authority of Plaintiffs and the Class, OpenAI copied the Plaintiffs’

15   Infringed Works and used them as training data for the OpenAI Language Models. By design, the

16   training process does not preserve any CMI. Therefore, OpenAI intentionally removed CMI from the

17   Plaintiffs’ Infringed Works in violation of 17 U.S.C. § 1202(b)(1).

18          66.       Without the authority of Plaintiffs and the Class, Defendants created derivative works

19   based on Plaintiffs’ Infringed Works. By distributing these works without their CMI, OpenAI violated

20   17 U.S.C. § 1202(b)(3).

21          67.       OpenAI knew or had reasonable grounds to know that this removal of CMI would

22   facilitate copyright infringement by concealing the fact that every output from the OpenAI Language

23   Models is an infringing derivative work, synthesized entirely from expressive information found in the

24   training data.

25          68.       Plaintiffs have been injured by OpenAI’s removal of CMI. Plaintiffs are entitled to

26   statutory damages, actual damages, restitution of profits, and other remedies provided by law.

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 1                                           COUNT 4
                                       Unfair Competition
 2                            Cal. Bus. & Prof. Code §§ 17200, et seq.
 3                            On Behalf of Plaintiffs and the Class

 4          69.     Plaintiffs incorporate by reference the preceding factual allegations.

 5          70.     Defendants have engaged in unlawful business practices, including violating Plaintiffs’

 6   rights under the DMCA, and using Plaintiffs’ Infringed Works to train ChatGPT without Plaintiffs’ or

 7   the Class’s authorization.

 8          71.     The unlawful business practices described herein violate California Business and

 9   Professions Code section 17200 et seq. (the “UCL”) because that conduct is otherwise unlawful by

10   violating the DMCA.

11          72.     The unlawful business practices described herein violate the UCL because they are

12   unfair, immoral, unethical, oppressive, unscrupulous or injurious to consumers, because, among other

13   reasons, Defendants used Plaintiffs’ protected works to train ChatGPT for Defendants’ own

14   commercial profit without Plaintiffs’ and the Class’s authorization. Defendants further knowingly

15   designed ChatGPT to output portions or summaries of Plaintiffs’ copyrighted works without

16   attribution, and they unfairly profit from and take credit for developing a commercial product based on

17   unattributed reproductions of those stolen writing and ideas.

18          73.     The unlawful business practices described herein violate the UCL because consumers

19   are likely to be deceived. Defendants knowingly and secretively trained ChatGPT on unauthorized

20   copies of Plaintiffs’ copyright-protected work. Further Defendants deceptively designed ChatGPT to

21   output without any CMI or other credit to Plaintiffs and Class members whose Infringed Works

22   comprise ChatGPT’s training dataset. Defendants deceptively marketed their product in a manner that

23   fails to attribute the success of their product to the copyright-protected work on which it is based.

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 1                                           COUNT 5
                                            Negligence
 2                                Under California Common Law
 3                             On Behalf of Plaintiffs and the Class

 4             74.   Plaintiffs incorporate by reference the preceding factual allegations.

 5             75.   Defendants owed a duty of care toward Plaintiffs and the Class based upon Defendants’

 6   relationship to them. This duty is based upon Defendants’ obligations, custom and practice, right to

 7   control information in its possession, exercise of control over the information in its possession,

 8   authority to control the information in its possession, and the commission of affirmative acts that result

 9   in said harms and losses. Additionally, this duty is based on the requirements of California Civil Code

10   section 1714, requiring all “persons,” including Defendants, to act in a reasonable manner toward

11   others.

12             76.   Defendants breached their duties by negligently, carelessly, and recklessly collecting,

13   maintaining and controlling Plaintiffs’ and Class members’ Infringed Works and engineering,

14   designing, maintaining and controlling systems—including ChatGPT—which are trained on Plaintiffs’

15   and Class members’ Infringed Works without their authorization.

16             77.   Defendants owed Plaintiffs and Class members a duty of care to maintain Plaintiffs’

17   Infringed Works once collected and ingested for training ChatGPT.

18             78.   Defendants also owed Plaintiffs and Class members a duty of care to not use the

19   Infringed Works in a way that would foreseeably cause Plaintiffs and Class members injury, for

20   instance, by using the Infringed Works to train ChatGPT.

21             79.   Defendants breached their duties by, inter alia, using Plaintiffs’ Infringed Works to train

22   ChatGPT.

23                                           COUNT 6
24                                     Unjust Enrichment
                                  Under California Common Law
25                             On Behalf of Plaintiffs and the Class

26             80.   Plaintiffs incorporate by reference the preceding factual allegations.
27             81.   Plaintiffs and the Class have invested substantial time and energy in creating the
28   Infringed Works.

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 1          82.      Defendants have unjustly utilized access to the Infringed Materials to train ChatGPT.

 2          83.      Plaintiffs did not consent to the unauthorized use of the Infringed Materials to train

 3   ChatGPT.

 4          84.      By using Plaintiffs’ Infringed Works to train ChatGPT, Plaintiffs and the Class were

 5   deprived of the benefits of their work, including monetary damages.

 6          85.      Defendants derived profit and other benefits from the use of the Infringed Materials to

 7   train ChatGPT.

 8          86.      It would be unjust for Defendants to retain those benefits.

 9          87.      The conduct of Defendants is causing and, unless enjoined and restrained by this Court,

10   will continue to cause Plaintiffs and the Class great and irreparable injury that cannot fully be

11   compensated or measured in money.

12                                  VIII. DEMAND FOR JUDGMENT

13          Wherefore, Plaintiffs request that the Court enter judgment on their behalf and on behalf of

14   the Class defined herein, by ordering:

15                a) This action may proceed as a class action, with Plaintiffs serving as Class

16                   Representatives, and with Plaintiffs’ counsel as Class Counsel.

17                b) Judgment in favor of Plaintiffs and the Class and against Defendants.

18                c) An award of statutory and other damages under 17 U.S.C. § 504 for violations of the

19                   copyrights of Plaintiffs and the Class by Defendants.

20                d) Permanent injunctive relief, including but not limited to changes to ChatGPT to ensure

21                   that all applicable information set forth in 17 U.S.C. § 1203(b)(1) is included when

22                   appropriate.

23                e) An order of costs and allowable attorney’s fees under 17 U.S.C. § 1203(b)(4)–(5).

24                f) An award of statutory damages under 17 U.S.C. § 1203(b)(3) and 17 U.S.C. § 1203(c)(3),

25                   or in the alternative, an award of actual damages and any additional profits under 17

26                   U.S.C. § 1203(c)(2) (including tripling damages under 17 U.S.C. § 1203(c)(4) if

27                   applicable).

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 1              g) Pre- and post-judgment interest on the damages awarded to Plaintiffs and the Class, and

 2                  that such interest be awarded at the highest legal rate from and after the date this class

 3                  action complaint is first served on Defendants.

 4              h) Defendants are to be jointly and severally responsible financially for the costs and

 5                  expenses of a Court approved notice program through post and media designed to give

 6                  immediate notification to the Class.

 7              i) Further relief for Plaintiffs and the Class as may be just and proper.

 8                                  IX.       JURY TRIAL DEMANDED

 9          Under Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury of all the claims

10   asserted in this Complaint so triable.

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     Dated: July 7, 2023                              By:          /s/ Joseph R. Saveri
12                                                                  Joseph R. Saveri

13

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